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                                                      U.S. Department of Justice

                                                      Matthew M. Graves
                                                      United States Attorney

                                                      District of Columbia


                                                      Patrick Henry Building
                                                      601 D St., N.W.
                                                      Washington, D.C. 20530




                                                              March 23, 2023


David Benowitz
Rammy Barbari
Price Benowitz
409 7th St, NW #200
Washington DC 20004

                      Re:     United States v. Rodney Kenneth Milstreed
                              Criminal Case No. 22-cr-198-JEB

Dear Counsel:

       This letter sets forth the full and complete plea offer to your client, Rodney Kenneth
Milstreed (hereinafter referred to as “your client” or “defendant”), from the Office of the United
States Attorney for the District of Columbia (hereinafter also referred to as “the Government” or
“this Office”). This plea offer expires on April 14, 2023. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided
below. Upon receipt of the executed document, this letter will become the Plea Agreement
(hereinafter referred to as “this Agreement”). The terms of the offer are as follows:

       1.       Charges and Statutory Penalties

        Your client agrees to plead guilty to a three-count Information to be filed charging your
client with Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of 18 U.S.C. § 111(a)(1) and (b) (previously Count Three of the Indictment filed on
June 1, 2022), Assault by Striking, Beating, or Wounding, in violation of 18 U.S.C. § 113(a)(4)
(previously Count Five of the Indictment filed on June 1, 2022), and Receipt and Possession of
an Unregistered Firearm, in violation of 26 U.S.C. § 5861(d) (an offense that was not charged in
the June 1, 2022 Indictment).

        Your client understands that a violation of 18 U.S.C. § 111(a)(1) and (b) (Count One of
the Information) carries a maximum sentence of 20 years of imprisonment; a fine of $250,000 or
twice the pecuniary gain or loss of the offense, pursuant to 18 U.S.C. § 3571(b)(3) and (d); a


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term of supervised release of not more than 3 years, pursuant to 18 U.S.C. § 3583(b)(2); and an
obligation to pay any applicable interest or penalties on fines and restitution not timely made.

        Your client understands that a violation of 18 U.S.C. § 113(a)(4) (Count Two of the
Information) carries a maximum sentence of not more than one year of imprisonment; a fine of
not more than $100,000, pursuant to 18 U.S.C. § 3571(b)(5); a term of supervised release of not
more than one year, pursuant to 18 U.S.C. § 3583(b)(3); and an obligation to pay any applicable
interest or penalties on fines and restitution not timely made.

        Your client understands that a violation of 26 U.S.C. § 5861(d) (Count Three of the
Information) carries a maximum sentence of not more than 10 years of imprisonment; a fine of
not more than $10,000, pursuant to 26 U.S.C. § 5871; a term of supervised release of not more
than 3 years, pursuant to 18 U.S.C. § 3583(b)(2); and an obligation to pay any applicable interest
or penalties on fines and restitution not timely made. Your client further understands that,
pursuant to 26 U.S.C. § 5872, any firearm involved in the violation of Receipt or Possession of
an Unregistered Firearm will be subject to seizure and forfeiture.

        In addition, your client agrees to pay a special assessment of $100 per felony conviction
to the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and §5E1.2 of the United States Sentencing
Commission, Guidelines Manual (2021) (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation. Further, your
client understands that, if your client has two or more convictions for a crime of violence or
felony drug offense, your client may be subject to the substantially higher penalties provided for
in the career-offender statutes and provisions of the Sentencing Guidelines.

       2.       Cooperation with Additional Investigation

        Your client agrees to allow law enforcement agents to review any social media accounts
operated by your client for statements and postings in and around January 6, 2021, and conduct
an interview of your client regarding the events in and around January 6, 2021, upon request,
prior to sentencing.

       3.       Factual Stipulations

        Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offense(s) to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

       4.       Additional Charges

        In consideration of your client’s guilty plea to the above offenses, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense. The Government will request that the Court dismiss the Indictment in this case at the



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time of sentencing. Your client agrees and acknowledges that the charges to be dismissed at the
time of sentencing were based in fact.

         In consideration of your client’s waiver of venue (as set forth in Paragraph 10(a)) and
plea of guilty to Count Three of the Information, the United States Attorney’s Office for the
District of Maryland has represented to this Office that your client will not be further prosecuted
in that jurisdiction for the conduct set forth in the Statement of Offense.

        After the entry of your client’s plea of guilty to the offenses identified in Paragraph 1
above, your client will not be charged with any non-violent criminal offense in violation of
Federal or District of Columbia law which was committed within the District of Columbia by
your client prior to the execution of this Agreement and about which this Office was made aware
by your client prior to the execution of this Agreement. However, the United States expressly
reserves its right to prosecute your client for any crime of violence, as defined in 18 U.S.C. § 16
and/or 22 D.C. Code § 4501, if in fact your client committed or commits such a crime of
violence prior to or after the execution of this Agreement.

       5.       Sentencing Guidelines Analysis

         Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
Sentencing Guidelines. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), and to
assist the Court in determining the appropriate sentence, the parties agree to the following:

                A.     Estimated Offense Level Under the Guidelines

       The parties agree that the following Sentencing Guidelines sections apply:

                Count One, 18 U.S.C. § 111(a)(1) and (b):
                U.S.S.G. §2A2.2             Base Offense Level                              14
                U.S.S.G. §2A2.2(b)(2)(B)    Dangerous Weapon Used                           +4
                U.S.S.G. §2A2.2(b)(7)       Conviction Under 18 U.S.C. § 111(b)             +2
                U.S.S.G. §3A1.2(a) - (c)    Official Victim                                 +6
                                                                        Sub-total           26

                Count Two, 18 U.S.C. § 113(a)(4):
                U.S.S.G. §2A2.3            Base Offense Level                                7
                                                                             Sub-total       7

                Count Three, 26 U.S.C. § 5861(d):
                U.S.S.G. §2K2.1(a)(5)       Base Offense Level                              18
                                                                             Sub-total      18
                Combined Offense Level:
                U.S.S.G. §3D1.4(a)            Count One Group – one Unit
                U.S.S.G. §3D1.4(c)            Count Two Group is Disregarded
                U.S.S.G. §3D1.4(b)            Count Three Group – one-half Unit             +1



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               Upward Departure
               U.S.S.G. §5K2.0                §3A1.4, note 4, Offense Calculated to          +2
                                              Affect the Conduct of Gov’t

                                                                             Total            29

       Acceptance of Responsibility

         The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. Furthermore,
assuming your client has accepted responsibility as described in the previous sentence, the
Government agrees that an additional 1-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1(b), because your client has assisted authorities by providing timely notice of your
client’s intention to enter a plea of guilty, thereby permitting the Government to avoid preparing
for trial and permitting the Court to allocate its resources efficiently.

        Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this
Agreement.

       In accordance with the above, the Estimated Offense Level will be at least 26.

               B.      Estimated Criminal History Category

       Based upon the information now available to this Office, while your client has prior
criminal convictions, none of them are recent or serious enough to score points on the Sentencing
Guidelines

        Accordingly, your client is estimated to have 0 criminal history points and your client’s
Criminal History Category is estimated to be I (the “Estimated Criminal History Category”).
Your client acknowledges that after the pre-sentence investigation by the United States Probation
Office, a different conclusion regarding your client’s criminal convictions and/or criminal history
points may be reached and your client’s criminal history points may increase or decrease.

               C.      Estimated Guidelines Range

        Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above, your client’s estimated Sentencing Guidelines range is 63 months to 78 months
(the “Estimated Guidelines Range”). In addition, the parties agree that, pursuant to U.S.S.G.
§5E1.2, should the Court impose a fine, at Guidelines level 26, the estimated applicable fine

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range is $25,000 to $250,000. Your client reserves the right to ask the Court not to impose any
applicable fine.

         The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted, except that as provided in Paragraph 5(A) above
the parties agree that an upward departure pursuant to U.S.S.G. § 3A1.4, n. 4 is appropriate, as
reflected in the above guidelines calculation as set forth in Paragraph 5(A). Except as provided
for in the “Reservation of Allocution” section below, the parties also agree that neither party will
seek any offense-level calculation different from the Estimated Offense Level calculated above
in subsection A. However, the parties are free to argue for a Criminal History Category different
from that estimated above in subsection B.

        Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, that will not be a basis for withdrawal or recission of this Agreement by
either party.

        Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

       6.       Agreement as to Sentencing Allocution

        The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C. § 3553(a), should
such a sentence be subject to appellate review notwithstanding the appeal waiver provided below.
However, the parties agree that either party may seek a variance and suggest that the Court consider
a sentence outside of the applicable Guidelines Range, based upon the factors to be considered in
imposing a sentence pursuant to 18 U.S.C. § 3553(a). As part of this agreement, however, the
parties agree that U.S.S.G. §3A1.4 n.4 applies, as described supra.

       7.       Reservation of Allocution

       The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty, to
inform the presentence report writer and the Court of any relevant facts, to dispute any factual
inaccuracies in the presentence report, and to contest any matters not provided for in this
Agreement. The parties also reserve the right to address the correctness of any Sentencing
Guidelines calculations determined by the presentence report writer or the court, even if those

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calculations differ from the Estimated Guidelines Range calculated herein. In the event that the
Court or the presentence report writer considers any Sentencing Guidelines adjustments,
departures, or calculations different from those agreed to and/or estimated in this Agreement, or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors
listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related inquiries from
the Court or the presentence report writer and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

        In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of
allocution in connection with any post-sentence motion which may be filed in this matter and/or
any proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

       8.       Court Not Bound by this Agreement or the Sentencing Guidelines

       Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

        Your client acknowledges that your client’s entry of a guilty plea to the charged offenses
authorizes the Court to impose any sentence, up to and including the statutory maximum
sentence, which may be greater than the applicable Guidelines range. The Government cannot,
and does not, make any promise or representation as to what sentence your client will receive.
Moreover, it is understood that your client will have no right to withdraw your client’s plea of
guilty should the Court impose a sentence that is outside the Guidelines range or if the Court
does not follow the Government’s sentencing recommendation. The Government and your client
will be bound by this Agreement, regardless of the sentence imposed by the Court. Any effort
by your client to withdraw the guilty plea because of the length of the sentence shall constitute a
breach of this Agreement.

       9.       Conditions of Release

        Your client agrees not to object to the Government’s recommendation to the Court at the
time of the plea of guilty in this case that your client be detained without bond pending your
client’s sentencing in this case, pursuant to 18 U.S.C. § 3143.




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       10.     Waivers

               a.      Venue

       Your client waives any challenge to venue in the District of Columbia, including as to
Count Three, Receipt and Possession of an Unregistered Firearm, which occurred in the District
of Maryland. Your client expressly consents to venue in the District of Columbia and requests
that Count Three be charged in the District as part of this Agreement.

               b.      Statute of Limitations

        Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)
may be commenced or reinstated against your client, notwithstanding the expiration of the statute
of limitations between the signing of this Agreement and the commencement or reinstatement of
such prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of
Offense that is not time-barred on the date that this Agreement is signed.

               c.      Trial Rights

        Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
right to a jury trial. If there were a jury trial, your client would have the right to be represented
by counsel, to confront and cross-examine witnesses against your client, to challenge the
admissibility of evidence offered against your client, to compel witnesses to appear for the
purpose of testifying and presenting other evidence on your client’s behalf, and to choose
whether to testify. If there were a jury trial and your client chose not to testify at that trial, your
client would have the right to have the jury instructed that your client’s failure to testify could
not be held against your client. Your client would further have the right to have the jury
instructed that your client is presumed innocent until proven guilty, and that the burden would be
on the United States to prove your client’s guilt beyond a reasonable doubt. If your client were
found guilty after a trial, your client would have the right to appeal your client’s conviction.
Your client understands that the Fifth Amendment to the Constitution of the United States
protects your client from the use of self-incriminating statements in a criminal prosecution. By
entering a plea of guilty, your client knowingly and voluntarily waives or gives up your client’s
right against self-incrimination.

       Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea

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proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it.

        Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Court.

               d.      Appeal Rights

        Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the conviction in this case on any basis, including but not limited to claims that (1) the
statutes to which your client is pleading guilty are unconstitutional, and (2) the admitted conduct
does not fall within the scope of the statutes. Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term
or condition of supervised release, authority of the Court to set conditions of release, and the
manner in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to
this waiver, your client is aware that your client’s sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your client knowingly and willingly waives your client’s right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Government in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,
your client retains the right to appeal on the basis of ineffective assistance of counsel, but not to
raise on appeal other issues regarding the conviction or sentence.

               e.      Collateral Attack

        Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.
§ 3582(c)(2).

               f.      Hearings by Video Teleconference and/or Teleconference

         Your client agrees to consent, under the CARES Act, Section 15002(b)(4) and otherwise,
to hold any proceedings in this matter – specifically including but not limited to presentment,
initial appearance, and status hearings – by video teleconference and/or by teleconference and to
waive any rights to demand an in-person/in-Court hearing. Your client further agrees to not
challenge or contest any findings by the Court that it may properly proceed by video
teleconferencing and/or telephone conferencing in this case because, due to the COVID-19

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pandemic, an in-person/in-Court hearing cannot be conducted in person without seriously
jeopardizing public health and safety and that further there are specific reasons in this case that
any such hearing cannot be further delayed without serious harm to the interests of justice. Your
client understands, however, that pursuant to the CARES Act, as well as the Chief Judge’s
Standing Order No. 22-64 (BAH) (November 9, 2022), plea and sentencing hearings must be
conducted in-person. Additionally, your client understands that Standing Order No. 22-64 will
govern such authorizations.

        11.     Use of Self-Incriminating Information

        The Government and your client agree, in accordance with U.S.S.G. § 1B1.8, that the
Government will be free to use against your client for any purpose at the sentencing in this case
or in any related criminal or civil proceedings, any self-incriminating information provided by
your client pursuant to this Agreement or during the course of debriefings conducted in
anticipation of this Agreement, regardless of whether those debriefings were previously covered
by an “off the record” agreement by the parties.

        12.     Restitution

       Your client understands that the Court has an obligation to determine whether, and in
what amount, restitution applies in this case. Your client agrees to pay restitution pursuant to 18
U.S.C. § 3663(a)(3) and 18 U.S.C. § 3663A(c)(1).

        Your client acknowledges that the riot that occurred on January 6, 2021, caused as of
October 14, 2022, approximately $2,881,360.20 damage to the United States Capitol. Your
client agrees as part of the plea in this matter to pay restitution to the Architect of the Capitol in
the amount of $2,000.

        Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the
collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
party. Your client agrees to submit a completed financial statement on a standard financial
disclosure form which has been provided to you with this Agreement to the Financial Litigation
Unit of the United States Attorney’s Office, as it directs. If you do not receive the disclosure
form, your client agrees to request one from usadc.ecfflu@usa.doj.gov. Your client will
complete and electronically provide the standard financial disclosure form to
usadc.ecfflu@usa.doj.gov 30 days prior to your client’s sentencing. Your client agrees to be
contacted by the Financial Litigation Unit of the United States Attorney’s Office, through
defense counsel, to complete a financial statement. Upon review, if there are any follow-up
questions, your client agrees to cooperate with the Financial Litigation Unit. Your client
promises that the financial statement and disclosures will be complete, accurate and truthful, and
understands that any willful falsehood on the financial statement could be prosecuted as a
separate crime punishable under 18 U.S.C. § 1001, which carries an additional five years’
incarceration and a fine.




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        Your client expressly authorizes the United States Attorney’s Office to obtain a credit
report on your client in order to evaluate your client’s ability to satisfy any financial obligations
imposed by the Court or agreed to herein.

        Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. If
the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment, including without
limitation by administrative offset. If your client is sentenced to a term of imprisonment by the
Court, your client agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility
Program, regardless of whether the Court specifically imposes a schedule of payments.

        Your client certifies that your client has made no transfer of assets in contemplation of
this prosecution for the purpose of evading or defeating financial obligations that are created by
this Agreement and/or that may be imposed by the Court. In addition, your client promises to
make no such transfers in the future until your client has fulfilled the financial obligations under
this Agreement.

        13.    Forfeiture

        (a)    Your client agrees to the forfeiture set forth in the Forfeiture Allegation in the
Criminal Information to which your client is pleading guilty. Your client agrees to the forfeiture
of the following specific property:

   a.   Item # 2 - Unopened Ammo Box Labeled Wolf Military Classic
   b.   Item # 3 - Upper Receiver for AR Style Weapon; No Bolt Carrier Group
   c.   Item # 4 - Upper Receiver for AR Style Weapon with Bolt Carrier Group
   d.   Item # 4a - AR Style Weapon Scope Attached to Item # 4
   e.   Item # 4b - Suppressor Attached to Item #4
   f.   Item # 5 - Upper Receiver for AR Style Weapon; No Bolt Carrier Group
   g.   Item # 5a - Optic Mounted to Item # 5
   h.   Item # 5b - Suppressor Attached to Item # 5
   i.   Item # 6 - AR Style Weapon Scope, Black In Color ; Bearing 4-16x50aoeg
   j.   Item # 7 - Aluminum Type, Improvised Suppressor (Black in Color) With Inscription
        'D2037963705'
   k.   Item # 8 - AR Style Weapon; No Bolt Carrier Group
   l.   Item # 8a - AR Style Weapon Scope 'Micro3x' Attached To Item #8
   m.   Item # 8b - AR Style Weapon Scope 'Strikeforce' Attached To Item #8
   n.   Item # 9 - Lower Receiver, Black in Color, for AR Style Weapon
   o.   Item # 10 - Lower Receiver for AR Style Weapon, Black in Color, with Coating, Silver
        in Color
   p.   Item # 11 - Buffer Spring, Black in Color


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   q. Item # 12 - Upper Receiver for AR Style Weapon, No Bolt Carrier Group
   r. Item # 13 - Unopened Box Labeled "Federal Ammunition .223 X 1000"
   s. Item # 14 - Remington Box Containing an Empty Magazine, 4 Shell Casings, 2 Live
      Rounds
   t. Item # 15 - Opened Ammo Box Labeled "UMC Bulk Pack" Containing Approximately
      (471) .223 Rounds
   u. Item # 16 - Box Containing (19) X 223. Rounds (20 Boxes), X 1 Winchester 556 (20 Rd
      Box)
   v. Item # 17 - Metal Ammo Box Partially Opened Containing Boxes of “Wolf Military
      Classic” .223 Rounds.
   w. Item # 19 - Buffer Spring, Black in Color
   x. Item # 21 - 11 Magazines Total: 9 X 5.56, 2 X 7.62, 7 X 30 Round Capacity, (1) Empty,
      (1) With (2) Rounds, (3) With 30 Rounds, (2) With 31 Rounds, 2 40 Round Capacity, (1)
      With 10 Rounds, (1) With 11 Rounds, Additional 3 Loose Rounds

        (b) Your client agrees that the proffer of evidence supporting your client=s guilty plea is
sufficient evidence to support this forfeiture. Your client agrees that the Court may enter a
Consent Order of Forfeiture for this property at the time of his guilty plea or at any time before
sentencing. Your client agrees that this Order will become final as to your client when it is
issued and will be a part of his sentence pursuant to Federal Rule of Criminal Procedure
32.2(b)(4)(A).

        (c) Your client agrees that this plea agreement permits the government to seek to forfeit
any of his assets, real or personal, that are subject to forfeiture under any federal statute, whether
or not this agreement specifically identifies the asset. Regarding any asset or property, your
client agrees to forfeiture of all interest in: (1) any firearms and ammunition involved in or used
in the knowing commission of the offense; and (2) any substitute assets for property otherwise
subject to forfeiture. See 18 U.S.C. § 924(d), 26 U.S.C. § 5872, 28 U.S.C. § 2461 and 21 U.S.C.
§ 853(p).

         (d) Your client agrees that he has waived any and all interest your client has in the
specific assets or properties identified above and consented to their forfeiture by whatever
process the government chooses. Your client agrees that these items are subject to seizure and
forfeiture by the United States, and that no defense exists to the seizure and forfeiture of this
property by the United States. As such, your client hereby relinquishes all claim, title, and
interest your client has in the above-referenced property to the United States and agrees not to
oppose any civil, administrative, or judicial forfeiture of the property. Your client knowingly
and voluntarily waives any right to timely notice provided for in 18 U.S.C. § 983. Your client
agrees that the government may use this waiver and consent in any administrative or judicial
forfeiture proceeding, whether criminal or civil, state, local or federal. If your client already has
filed a claim to any of these assets or properties in any forfeiture process, your client hereby
agrees to withdraw it. Your client also agrees not to file a claim to any of these assets or
properties in any future forfeiture proceeding of whatever type. In the event that the law
enforcement agency having custody of the property decides not to pursue forfeiture of any of the
seized properties, your client hereby abandons any interest your client has in such property and


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consents to its destruction by, and/or abandonment to, the law enforcement agency. The United
States agrees that, upon the final forfeiture of the specific property listed above, to the
government, the net proceeds realized by the government will be credited to the forfeiture money
judgment imposed by the Court.

        (e) Your client agrees that the specific property listed above which were seized from
your client’s person and your client’s residence on Jmay 24, 2022, and currently in the custody
and/or control of the Federal Bureau of Investigation, were properly seized and were involved in
or used in violation of federal law by your client. Your client agrees that these items are subject
to seizure and forfeiture by the United States, and that no defense exists to the seizure and
forfeiture of this property by the United States. As such, your client hereby relinquishes all
claim, title, and interest your client has in the above-referenced property to the United States and
agrees not to oppose any civil, administrative, or judicial forfeiture of this property. Your client
knowingly and voluntarily waives any right to timely notice provided for in 18 U.S.C. § 983.
Your client agrees that the government may use this waiver and consent in any administrative or
judicial forfeiture proceeding, whether criminal or civil, state, local or federal. If your client
already has filed a claim to any of this property in any forfeiture process, your client hereby
agrees to withdraw it. Your client also agrees that not to file a claim to any of this property in
any future forfeiture proceeding of whatever type. In the event that the law enforcement agency
having custody of the property decides not to pursue forfeiture of any of the seized property,
your client hereby abandons any interest your client has in such property and consents to its
destruction by, and/or abandonment to, the law enforcement agency. Your client certifies that
your client is the sole owner of the specific property listed above and that no one else has an
ownership interest in any of this property. Your client hereby waives any right your client has to
transfer the firearms and ammunition to a third party. In addition, your client acknowledges that
it would be illegal for your client to possess the firearms, ammunition and other items listed
above.

        (f) Your client agrees that the government may choose in its sole discretion how it
wishes to accomplish forfeiture of the property whose forfeiture your client has consented to in
this plea agreement, whether by criminal or civil forfeiture, using judicial or non-judicial
forfeiture processes. If the government chooses to effect the forfeiture provisions of this plea
agreement through the criminal forfeiture process, your client agrees to the entry of orders of
forfeiture for such property and waives the requirements of Federal Rule of Criminal Procedure
32.2 regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture
at sentencing, and incorporation of the forfeiture in the judgment. Your client understands that
the forfeiture of assets is part of the sentence that will be imposed in this case.

         (g) Your client agrees to take all steps as requested by the Government to obtain from
any other parties by any lawful means any records of assets owned at any time by your client.
Your client agrees to provide and/or consent to the release of your client=s tax returns for the
previous five years. Your client agrees to take all steps as requested by the Government to pass
clear title to forfeitable interests or to property to the United States and to testify truthfully in any
judicial forfeiture proceeding.

        (h) Your client agrees to waive all constitutional and statutory challenges in any manner
(including, but not limited to, direct appeal) to any forfeiture carried out in accordance with this

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plea agreement on any grounds, including that the forfeiture constitutes an excessive fine or
punishment.

       14.     Breach of Agreement

        Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; and (d) the Government will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client and any of the information or materials provided by your client, including such
statements, information and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously characterized as “off-the-record” debriefings, and including your
client’s statements made during proceedings before the Court pursuant to Rule 11 of the Federal
Rules of Criminal Procedure.

       Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

        Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client’s
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

       15.     Complete Agreement

        No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attorney for the
District of Columbia.

       Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attorney’s Office for the District of Columbia.
This Agreement does not bind the Civil Division of this Office or any other United States
Attorney’s Office, nor does it bind any other state, local, or federal prosecutor. It also does not



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bar or compromise any civil, tax, or administrative claim pending or that may be made against
your client.

       If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than
April 14, 2023.

                                                    Sincerely yours,



                                                    __________________________
                                                    Matthew M. Graves
                                                    United States Attorney



                                             By:    ____________________________
                                                    Emily W. Allen
                                                    Assistant United States Attorney




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April 4, 2023
